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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

EARL PARRIS, JR., Individually,         )
and on Behalf of a Class of Persons     )
Similarly Situated,                     )
                                        )
       Plaintiff,                       )
                                        )
City of SUMMERVILLE,                    )
GEORGIA,                                )
                                        )
       Intervenor-Plaintiff,            )
                                        )
vs.                                     ) Case No.: 4:21-cv-00040-TWT
                                        )
3M COMPANY, DAIKIN                      )
AMERICA, INC., HUNTSMAN                 )
INTERNATIONAL, LLC, PULCRA              )
CHEMICALS, LLC, MOUNT                   )
VERNON MILLS, INC., TOWN OF             )
TRION, GEORGIA, and RYAN                )
DEJUAN JARRETT,                         )
                                        )
       Defendants.                      )

       CONSENT DECREE AS TO DEFENDANT RYAN JARRETT

                                  RECITALS

      WHEREAS, Plaintiff Earl Parris, Jr. (“Plaintiff”) has alleged various claims

in the above-styled action, including claims under the federal Clean Water Act, 33

U.S.C. § 1251 et seq., with respect to Defendant Ryan Dejuan Jarrett (“Jarrett”)

based upon his status as the current owner of two parcels of land in Chattooga
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County, Georgia upon which sewage sludge, aka biosolids, have been placed by co-

Defendant Town of Trion (“Trion”), which biosolids were a product of Trion’s

wastewater treatment plant (“WWTP”).

      WHEREAS, Plaintiff has alleged that the above-referenced biosolids

contained PFAS and are a source of PFAS impact to Raccoon Creek upstream of the

City of Summerville’s drinking water supply intake.

      WHEREAS, Intervenor-Plaintiff City of Summerville in its Complaint in the

above-styled action does not allege any legal claims against Jarrett.

      WHEREAS, Jarrett has alleged cross-claims for contribution and

indemnification against his co-defendants in the above-styled action.

      WHEREAS, Jarrett acknowledges that biosolids from the Trion WWTP were

placed by Trion on his properties, one of which borders Raccoon Creek.

      WHEREAS, Jarrett has answered the Complaints filed by Plaintiff and

Plaintiff-Intervenor by denying any liability thereunder and expressing his

willingness to make such properties reasonably available for sampling and potential

remediation.

      WHEREAS, Plaintiff, Intervenor-Plaintiff City of Summerville, and Jarrett

recognize, and the Court by entering this Consent Decree finds, that: a) the Consent

Decree has been negotiated by them in good faith to avoid further involvement by


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Jarrett in this litigation and to make Jarrett’s properties available for sampling and

potential remediation; b) the Consent Decree is fair, reasonable, and in the public

interest; c) the Consent Decree shall not be deemed to constitute an admission of

liability by Jarrett, which liability he denies, and d) while Jarrett’s crossclaims in this

action are dismissed without prejudice in this action, he reserves all rights and claims

against his co-defendants and others that he may have now or in the future with

respect to the subject matter of this action.

       NOW, THEREFORE, pursuant to and consistent with the above-stated

recitals, it is hereby Ordered, Adjudged, and Decreed as follows:

Access for Sampling and Potential Remedial Activity

1. Jarrett shall make his properties where biosolids from the Town of Trion WWTP

   were placed available: a) for reasonable sampling for PFAS with respect to the

   biosolids placed on such properties as a potential source of discharge to Raccoon

   Creek; and b) for potential remedial activities in the event it is determined

   hereafter that such activities are necessary to provide appropriate protection

   against future discharges of PFAS to Raccoon Creek and resulting impacts to

   Plaintiff-Intervenor’s water supply from Raccoon Creek.

2. Prior to the conduct of any sampling activity on Jarrett’s property pursuant to this

   Consent Decree, he shall be provided not less than fifteen (15 ) days advance


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   written notice of such proposed sampling activity and of the access, sampling,

   analysis, and reporting plan associated with such sampling. Following such

   notice, Jarrett shall have fifteen (15) days to raise any comments, questions, or

   suggestions that he may have with respect to such plan. In the absence of any

   such comments, questions, or suggestions, the proponent of the plan shall be

   allowed to proceed in accordance with such plan, and Jarrett shall coordinate with

   the proponent of such plan to allow access to his property for the purpose of

   implementation of such plan. Any disputes relating to such plan shall be resolved

   in accordance with the dispute resolution provisions of this Consent Decree.

3. Prior to the conduct of any remedial activity on Jarrett’s property pursuant to this

   Consent Decree, he shall be provided not less than forty-five (45) days advance

   written notice of such proposed remedial activity, the reason(s) and purpose(s) of

   such activity, and the access and remedial activity plan associated therewith.

   Following such notice, Jarrett shall have thirty (30) days to raise any comments,

   questions, or suggestions that he may have with respect to such plan. In the

   absence of any such comments, questions, or suggestions, the proponent of the

   plan shall be allowed to proceed in accordance with such plan, and Jarrett shall

   coordinate with the proponent of such plan to allow access to his property for the

   purpose of implementation of such plan. Any disputes relating to such plan shall


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   be resolved in accordance with the dispute resolution provisions of this Consent

   Decree.

4. Plaintiff shall indemnify Jarrett against all costs, claims, liabilities, damages,

   injuries, demands and harms arising from the conduct of sampling by Plaintiff on

   Jarrett’s property pursuant to this Consent Decree.

Effect of Consent Decree on Claims and Cross-Claims

5. This Consent Decree resolves all claims which were alleged or could have been

   alleged against Jarrett by Plaintiff or Intervenor-Plaintiff, and all such claims

   against Jarrett shall be deemed to have been dismissed with prejudice. Jarrett

   shall not be required to participate further as a party in this action, so long as he

   complies with the provisions of this Consent Decree. The Court will retain

   jurisdiction over Jarrett in this action for the sole purpose of enforcing the terms

   of this Consent Decree with respect to him, if necessary.

6. Pursuant to this Consent Decree, Jarrett’s cross-claims against his co-defendants

   shall be deemed to be dismissed without prejudice, with Jarrett reserving all

   rights and claims referenced in his cross-claims or otherwise.

Dispute Resolution

7. Unless otherwise expressly provided for in this Consent Decree, the dispute

   resolution procedures of this section shall be the exclusive mechanism to resolve


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disputes arising under or with respect to this Consent Decree. Any party’s failure

to seek resolution of a dispute under this section shall preclude the party from

raising any such issue to enforce any obligation of the other party arising under

this Consent Decree.

     (1) Informal Dispute Resolution. Any dispute subject to Dispute Resolution

         under this Consent Decree shall first be the subject of informal

         negotiations between the parties to such dispute. A dispute shall be

         considered to have arisen when a disputing party sends the other party

         a written Notice of Dispute. Such Notice of Dispute shall state clearly

         the matter in dispute. The period of informal negotiations shall not

         exceed 14 days from service of the Notice of Dispute unless that period

         is modified by written agreement. If the parties cannot resolve a dispute

         by informal negotiations, then either party may invoke formal dispute

         resolution procedures with the Court.

     (2) Formal Dispute Resolution. Either party may invoke formal dispute

         resolution procedures with the Court by filing a written Statement of

         Position regarding the matter in dispute. The initiating party’s

         Statement of Position shall include information and argument

         supporting the party’s position and any supporting documentation. The


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            other party shall file its Statement of Position within 21 days of its

            receipt of the initiating party’s Statement of Position, which shall

            include information and argument supporting that party’s position and

            any supporting documentation The initiating party may, but is not

            required to, submit a reply within 7 days thereafter.

        (3) In invoking formal dispute resolution, a party seeks judicial

            determination of the dispute. The Court shall determine, in its

            discretion, whether to hold a hearing to take testimony from witnesses

            on any issue or whether to resolve the dispute on the papers, including

            any declarations, submitted. The Court may also elect to refer any

            dispute to a magistrate judge for determination by hearing or on the

            papers through a report and recommendation.

Notices and Communications

8. Except as otherwise specified by Plaintiff, Intervenor-Plaintiff, or Jarrett, any

   written notification, submission, or communication required by the terms of this

   Consent Decree shall be addressed as follows both to the mailing address and

   email address of the recipient as follows:




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   To Jarrett:

   Craig Pendergrast, Esq.
   Continuum Legal Group LLP
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   Atlanta, GA 30342
   cpendergrast@ContinuumLG.com

   To Plaintiff:

   Gary A. Davis, Esq.
   Davis & Whitlock, P.C.
   21 Battery Park Avenue, Suite 206
   Asheville, NC 28801
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   To Intervenor-Plaintiff:

   J. Anderson Davis, Esq.
   Brinson, Askew, Berry, Seigler, Richardson & Davis, LLP
   Post Office Box 5007
   Rome, GA 30162-5007
   adavis@brinson-askew.com

Lodging and Approval of Consent Decree

9. Pursuant to 33 U.S.C. § 1365(b)(3), this Consent Decree has been lodged with

   the Court and presented to the United States for its review for a period of at least

   forty (45) days prior to the date of its entry by the Court.




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                                      September 2022
                          7th day of __________,
ENTERED and DECREED, this ____

______________________________
Thomas Thrash
United States District Judge



     Consented to:

     /s/ Craig K. Pendergrast
     Craig K. Pendergrast
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     Ryan Dejuan Jarrett

     /s/ James S. Whitlock
     Gary A. Davis (phv)
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     Jeffrey J. Dean
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